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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00212 MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   RUVILA ELIZABETH LIMA, et al.,                      DATE: November 1, 2018
                                                         TIME: 10:00 a.m.
15                                Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17                                                STIPULATION

18          1.      By previous order, this matter was set for status on November 1, 2018.

19          2.      By this stipulation, defendant Poya Khanjan, through his respective counsel of record, now

20 moves to continue the status conference until January 31, 2019, and to exclude time between November 1,
21 2018, and January 31, 2019, under Local Code T4.
22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The United States has represented that the discovery associated with this case

24 includes, collectively, investigative reports, electronic discovery obtained from the search of various
25 electronic devices, records from the California Department of Motor Vehicles, and records from telephone
26 providers and banks that exceed 2,000 pages, all of which is subject to a protective order. Counsel for
27 Khanjan substituted in on July 30, 2018, and was provided discovery recently after he executed the

28 protective order in order to receive the discovery.

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             1
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 1                  b)     Counsel for defendant desires additional time to continue to review discovery,

 2 consult with his client, to conduct investigation and research related to the charges, including potential
 3 immigration consequences, to discuss potential resolutions with his client, to research any pretrial
 4 motions, and to otherwise prepare for trial.
 5                  c)     Additionally, counsel for the defendant represents that he will be unable to prepare

 6 for this matter throughout November 2018 due to a conflicting state court matter, and will not have time to

 7 attend to this matter until January 2019.
 8                  d)     Counsel for defendant believes that failure to grant the above-requested continuance

 9 would deny counsel the reasonable time necessary for effective preparation, taking into account the
10 exercise of due diligence.
11                  e)     The United States does not object to the continuance.

12                  f)     Based on the above-stated findings, the ends of justice served by continuing the

13 case as requested outweigh the interest of the public and the defendant in a trial within the original date
14 prescribed by the Speedy Trial Act.
15                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

16 seq., within which trial must commence, the time period of November 1, 2018 to January 31, 2019,
17 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
18 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s finding
19 that the ends of justice served by taking such action outweigh the best interest of the public and the
20 defendant in a speedy trial.
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             2
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
 6   Dated: October 31, 2018                                   McGREGOR W. SCOTT
                                                               United States Attorney
 7
                                                               /s/ Todd A. Pickles
 8                                                             TODD A. PICKLES
                                                               ROSANNE L. RUST
 9                                                             Assistant United States Attorneys
10
     Dated: October 31, 2018                                   /s/ Steve Whitworth (as
11                                                             authorized 10/30/2018)
                                                               STEVE WHITWORTH
12
                                                               Counsel for Defendant
13                                                             POYA KHANJAN

14
15                                                     ORDER
16          IT IS SO ORDERED.
17 Dated: November 5, 2018
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
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